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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 EVERESTUS ONUWA, as Conservator for
 DIVINE ONUWA, a minor,

       Plaintiff,                               Case No.

 v.                                             Hon.
                                                Mag.


 OAKWOOD HEALTHCARE, INC. d/b/a
 BEAUMONT HOSPITAL, et al.

      Defendants.
 ___________________________________/


               CERTIFICATE OF SCOPE OF EMPLOYMENT

      Pursuant to 42 U.S.C. § 233, and by virtue of the authority vested in the United

States Attorney for the Eastern District of Michigan by the Attorney General under

28 U.S.C. § 510 and 28 C.F.R. § 15.3, and re-delegated to me by the administrative

directive of the United States Attorney, I hereby certify that:

      1.     I have read the Complaint in this action.

      2.     On the basis of the information now available with respect to the

allegations made in the complaint, and pursuant to 42 U.S.C. § 233(c), I find that Dr.

Tanya Wynn and Dr. Luna Alkhafaji were acting within the course and scope of




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their employment with Western Wayne Family Health Centers at the time of the

conduct alleged in the Complaint, and are deemed employees of the United States.



                                           SAIMA S. MOHSIN
                                           Acting United States Attorney



                                           PETER A. CAPLAN
                                           Chief, Civil Division
                                           Office of the U.S. Attorney
                                           Eastern District of Michigan
                                           211 W. Fort Street, Suite 2001
                                           Detroit, MI 48226-3211
                                           (313) 226-9782

Date: March 30, 2021




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